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Exhibit 5
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@ffice of the Attorney General
Washington, B.€. 20530

October 6, 2017

MEMORANDUM FOR ALL COMPONENT HEADS AND UNITED STATES ATTORNEYS
FROM: THE ATTORNEY GENE .

SUBJECT: Implementation of Memorandunf on Federal Law Protections
for Religious Liberty

The President has instructed me to issue guidance interpreting religious liberty protections in
federal law. Exec. Order 13798, § 4 (May 4, 2017). Pursuant to that instruction and consistent
with my authority to provide advice and opinions on questions of law to the Executive Branch, I
have undertaken a review of the primary sources for federal protection of religious liberty in the
United States, along with the case law interpreting such sources. I also convened a series of
listening sessions, seeking suggestions regarding the areas of federal protection for religious liberty
most in need of clarification or guidance from the Attorney General.

Today, I sent out a memorandum to the heads of all executive departments and agencies
summarizing twenty principles of religious liberty and providing an appendix with interpretive
guidance of federal-law protections for religious liberty to support those principles. That
memorandum and appendix are no less applicable to this Department than to any other agency
within the Executive Branch. I therefore direct all attorneys within the Department to adhere to
the interpretative guidance set forth in the memorandum and its accompanying appendix.

In particular, I direct the Department of Justice to undertake the following actions:

e All Department components and United States Attorney’s Offices shall, effective
immediately, incorporate the interpretative guidance in litigation Strategy and arguments,
operations, grant administration, and all other aspects of the Department’s work, keeping
in mind the President’s declaration that “[i]t shall be the policy of the executive branch to
vigorously enforce Federal law’s robust protections for religious freedom.” Exec. Order
13798, § 1 (May 4, 2017).

¢ Litigating Divisions and United States Attorney’s Offices should also consider, in
consultation with the Associate Attorney General, how best to implement the guidance
with respect to arguments already made in pending cases where such arguments may be
inconsistent with the guidance.

¢ Department attorneys shall also use the interpretive guidance in formulating opinions and
advice for other Executive Branch agencies and shall alert the appropriate officials at such
agencies whenever agency policies may conflict with the guidance. .

e To aid in the consistent application of the Religious Freedom Restoration Act of 1993
(RFRA), 42 U.S.C. § 2000bb ef seg., and other federal-law protections for religious
liberty, the Office of Legal Policy shall coordinate with the Civil Rights Division to

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review every Department rulemaking and every agency action submitted by the Office of
Management and Budget for review by this Department for consistency with the
interpretive guidance. In particular, the Office of Legal Policy, in consultation with the
Civil Rights Division, shall consider whether such rules might impose a substantial
burden on the exercise of religion and whether the imposition of that burden would be
consistent with the requirements of RFRA. The Department shall not concur in the
issuance of any rule that appears to conflict with federal laws governing religious liberty,
as set forth in the interpretive guidance.

¢ In addition, to the extent that existing procedures do not already provide for consultation
with the Associate Attorney General, “Department components and United States
Attomey’s Offices shall notify the Associate Attorney General of all issues arising in
litigation, operations, grants, or other aspects of the Department’s work that appear to
raise novel, material questions under RFRA or other religious liberty protections
addressed in the interpretive guidance. The Associate Attorney General shall promptly
alert the submitting component of any concerns.

Any questions about the interpretive guidance or this memorandum should be addressed to the
Office of Legal Policy, U.S. Department of Justice, 950 Pennsylvania Avenue N.W., Washington,
D.C. 20530, phone (202) 514-4601.

Thank you for your time and attention to this important matter.

